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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                  FOR THE DISTRICT OF ARIZONA
10
11     United States of America,                            CR-18-02719-TUC-RCC (BGM)
12                             Plaintiff,                GOVERNMENT’S RESPONSE TO
13              vs.                                    DEFENDANT’S OBJECTIONS TO THE
                                                        UNITED STATES’ EXHIBITS AND
14                                                               WITNESSES
       Ryan Phillip Schlesinger,                                (Dkt. No. 609)
15
                              Defendant.
16
17
18
19             The United States of America, by and through its undersigned attorneys,

20    respectfully responds to defendant’s objections to the United States’ exhibits and

21    witnesses. (Dkt. No. 609). The objections should be overruled for the reasons discussed

22    below.

23
24                                              FACTS

25             On November 29, 2018, the defendant opened fire with an assault rifle on the United

26    States’ Marshals Service (USMS) Task Force Officers who were attempting to arrest

27    defendant for stalking a Tucson Police Department Sergeant. Defendant had prepared for

28    war against law enforcement and killed Deputy Marshal C.W. after the task force had
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 1    announced their presence, stated they had warrant for his arrest, and asked him to exit the
 2    house.
 3             Many of the defendant’s objections to the exhibits incorrectly allege that they are
 4    unfairly prejudicial. However, the standard for admissibility is whether the probative value
 5    is substantially outweighed by a danger of unfair prejudice.          Fed.R.Evid. Rule 403
 6    (emphasis added). In this case, the probative value of the United States exhibits is high,
 7    and is not substantially outweighed by unfair prejudice, if any.
 8
       Exhibit No.       Reply to Objection
 9          8            Video of Deputy U.S. Marshal (Deputy Marshal) C.W.’s arrival at
                         Banner UMC. The United States has asked the defense for a stipulation
10
                         to the time of arrival of the Armored Vehicle transporting Deputy
11                       Marshal C.W. to Banner UMC after defendant shot him. The defense
                         has not responded. If the defense agrees to stipulate to the time of
12                       arrival, the government will agree to not offer the video for admission.
13                       The video is relevant to show the time of arrival to provide the jury with
                         a timeline of events leading to the time that medical staff declared C.W.
14                       deceased. The video shows the armored vehicle arriving at the hospital
15                       and Deputy Marshal C.W. being removed from the vehicle, placed on
                         a gurney, and taken into the hospital. It is not unfairly prejudicial.
16             36        Defendant objects to the militia reference on the officer safety
17                       bulletin. The United States will redact the reference to “militia.”
         88, 89, 90      Exhibit 88 is a photo of the remains of Deputy Marshal C.W. as he
18                       first arrived at the Office of the Medical Examiner. This photo is a
19                       photo of the upper body and upper thigh area of the remains of Deputy
                         Marshal C.W. It is relevant to show the injuries and the medical
20                       artifacts upon arrival at the Office of the Medical Examiner. It
21                       provides an overall view of the entrance and exit wounds of the .223
                         caliber bullets. The photo lays foundation for Dr. Lougee’s testimony
22                       and establishes that the autopsy was performed on Deputy Marshal
                         C.W. It is highly probative evidence and is not unfairly prejudicial.
23
24                       Exhibit 89 is a photo showing the right armpit area of the remains of
                         Deputy Marshal C.W. It best shows the path of the .223 caliber
25
                         fragments that exited C.W.’s right side and then entered his right arm
26                       and exited again. This photo is highly probative to show the path of
                         the .223 bullet fragments. Forensic examination shows that the .223
27                       bullet fragment found in DUSM’s arm, pictured in the photo, was
28                       fired by Defendant with his assault rifle.


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 1
                     Exhibits 88 and 89 are not cumulative. Exhibit 88 provides an
 2                   overview of Deputy Marshal C.W.’s wounds and Exhibit 89 focuses
 3                   on the path of the .223 fragment out of the victim’s right chest and
                     into right his arm.
 4
                     Exhibit 90. The United States is removing Exhibit 90 from the
 5
                     exhibit list.
 6
          125, 126   Exhibits 125 and 126 are both photos of the inside of the right
 7
                     shoulder strap of Deputy Marshal C.W.’s tactical vest. The photos are
 8                   a long view (Exhibit 125) and a closer view (Exhibit 126) of the
                     damage to the vest caused when defendant’s .223 bullet fragmented
 9                   and tore through DUSM C.W.’s right chest. The photos are not
10                   cumulative because Exhibit 125’s long view gives a frame of
                     reference for where the damage is on the shoulder strap and Exhibit
11                   126 shows the damage close up. This is highly probative evidence to
12                   show the path of the defendant’s .223 bullet as it fragmented in
                     C.W.’s chest and entered his right arm.
13
14                   The defendant’s objections are inconsistent with the proffered
                     testimony of defense expert Dr. Simms. Dr. Simms’ expert notice
15                   lists the Bates numbers underlying exhibits 125 and 126 as documents
16                   that he reviewed and which may correlate with his opinions. (Dkt. No.
                     620, p 9). This undermines defendant’s argument that the exhibits are
17                   too inflammatory to be presented to the jury.
          132, 133   Exhibits 132 and 133 show the damage to the right armpit area of
18
                     DUSM’s tactical vest. They are not cumulative because each photo
19                   shows a different angle of damage. The damage to the vest in this area
                     is highly probative to show the bullet path. Moreover, the defendant
20
                     represents that his expert Dr. Simms has reviewed these photos and
21                   they correlate to his opinion. This undermines defendant’s objection.
                     (Dkt. No. 620, p. 9).
22        203, 209   Exhibit 203 is a long view of defendant’s living room with a list of
23                   TPD Mental Health Support Team (MHST) members on a table in the
                     room along with the TPD evidence marker. The list contains the
24                   names of MHST team members that defendant targeted after his
25                   firearm was seized for attempting to shoot a MHST team member and
                     he was transported for a mental health evaluation on August 18, 2017.
26
27                   Exhibit 209 is a view of the living room which contains a better
                     picture of the living room window struck by a bullet from a law
28                   enforcement officer returning fire outside of defendant’s bedroom

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 1                   window. The bullet crossed through the defendant’s bedroom,
                     through the house and out the living room window shown in the
 2                   photo. Neither photo is inflammatory. The photos are not
 3                   cumulative.
            204      Exhibit 204 is a close-up of the list of TPD MHST team members
 4                   shown in Exhibits 203 and 209 above. It clearly shows the names of
                     TPD MHST team members that were involved in the service,
 5
                     transport, and attempted service of mental health evaluation petitions
 6                   in August 2017, August 2018, and November 2018. The MHST team
                     member that defendant attempted to shoot in August 2017 is also on
 7
                     this list.
 8
                     All of the above evidence was admitted pursuant to the Court’s order
 9                   granting the United States’ Motion to Admit Inextricably Intertwined
10                   Evidence. (Dkt. No. 539). All of this evidence shows defendant’s
                     anger at TPD arising from the seizure of his firearm and TPD either
11                   serving or attempting to serve him with mental health petitions. This
12                   list shows that MHST team members were targeted by defendant. Its
                     prominent location on the table in the living room shows the
13                   defendant’s current mental state – that he remained focused and
14                   continued to target law enforcement. The list of MHST team
                     members is additional evidence that defendant was at “war” with law
15                   enforcement as he stated in multiple emails. This photo is highly
16                   probative of premeditation and intent and is neither cumulative nor
                     inflammatory.
17          212      Exhibit 212 is a photo of defendant’s degrees from the University of
                     Phoenix. These college degrees are highly probative of defendant’s
18
                     abilities and that he is not the highly developmentally delayed person
19                   that the defense wants to represent to the jury. This further shows that
                     defendant does not lack theory of mind as the defense argues. The
20
                     successful completion of a college degree requires oral and written
21                   communication skills and shows that defendant can effectively
                     communicate with others and does not lack theory of mind.
22                   Furthermore, the fact that defendant planned, followed through, and
23                   completed college degrees is evidence of his ability to plan and
                     prepare for a goal. The defendant’s goal related to TPD was war.
24
25                   Furthermore, Defendant admits that he obtained a degree from the
                     University of Phoenix in his meeting with TPD officers on July 3,
26                   2018. The statement and the photo together are highly probative of
27                   defendant’s ability to plan and prepare and that he does not lack
                     theory of mind. Evidence of a college degree is not unfairly
28                   prejudicial.

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 1       250, 263,    Exhibit 250 is a photo of the front page of the August 2018, petition
         264, 568,    for mental health evaluation for defendant which was located in
 2       569, 576,    defendant’s bedroom during the execution of a search warrant. This
 3       577, 578     evidence is highly probative of defendant’s knowledge and focus on
                      his mental health evaluations initiated by TPD which fueled his anger
 4                    at TPD and motivated him to plan and prepare for war with law
                      enforcement.
 5
 6                    There is nothing unfairly prejudicial about the photo. The facts shown
                      in the photo, depicting the first page of the petition, have been
 7                    admitted as inextricably intertwined evidence. (Dkt. No. 539)
 8
                      The photo is not-hearsay and foundational evidence will be offered to
 9                    show that the document it depicts is what it purports to be. Deputy
10                    Degan will testify that this is a copy of the first page of the petition
                      that he obtained. It is non-hearsay because it is offered to show
11                    defendant’s state of mind.
12
                      Exhibits 263 and 264 will not be admitted as exhibits. They will be
13                    used to refresh recollection if needed.
14
                      Exhibits 568 and 569 will be used to refresh recollection. The
15                    physical petition and order are not being offered for admission unless
                      defendant opens the door.
16
17                    The underlying evidence was admitted by Court Order granting the
                      United States’ Motion to Admit Inextricably Intertwined Evidence,
18
                      the Court having heard the testimony about the injunction at the
19                    hearing on May 23, 2023. (Dkt. Nos. 530, 539). This injunction
                      against harassment was affirmed on November 13, 2018, and
20                    defendant was ordered in open court to turn over any firearms to either
21                    TPD or the Pima County Sheriff’s Office. Defendant did not do so
                      and murdered DUSM C.W. a couple of weeks later with the assault
22                    rifle he assembled in early 2018. This is highly probative evidence of
23                    premeditation that defendant was planning for war and therefore,
                      would not surrender his firearms.
24
25                   Exhibits 576-578 will not be offered for admission unless defendant
                     opens the door. They may be used to refresh recollection if needed.
26                   .
27        261, 262,  Exhibit 261-262 is a long view (to show context) and a close-up view
        302, 354-360 of books found in defendant’s room. The books depicted are mostly
28                   LSAT books and a military history book. The LSAT books show that

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 1                   he is able to plan and prepare for a goal. The military history book
                     shows defendant’s focus on war and the military. These photos are
 2                   highly probative of defendant’s intent to go to war and are not unfairly
 3                   prejudicial.

 4                   Exhibit 302. This is a photo of a Jiu Jitsu book. This is relevant to
                     show defendant’s focus on fighting. It is further evidence of
 5
                     defendant’s planning and preparation. It shows that defendant is
 6                   preparing to fight.
 7                   Exhibit 364-360 are photos of books including LSAT, Military
 8                   History, differential equations, and military manuals. They include
                     both long views for context and close-up views. The military manuals
 9                   at Exhibit 359 are highly probative of defendant’s preparation and
10                   planning and intent to go to war with law enforcement. The defense
                     has alleged that defendant lacks theory of mind and that his emails
11                   about going to war were just misunderstandings because defendant
12                   only meant to convey that people should stay away. However,
                     defendant’s collection of military manuals for military operations and
13                   tactics, firearms training, and marksmanship – all show that he meant
14                   what he said. He was going to war with law enforcement. These
                     photos of the miliary manuals in defendant’s residence are highly
15                   probative and not substantially outweighed by unfair prejudice.
16
                     Photos of the books are not hearsay as they are offered to show
17                   defendant’s state of mind and that he is highly functioning and
                     motivated for combat.
18
            265      Exhibit 265 is a photo of defendant’s identification documents.
19                   These documents show that it was defendant that purchased a Glock 9
                     mm in August 2018, two days before he went to Officer Dial’s
20
                     parents’ residence and threatened to include the Officer’s family in his
21                   “beef.” (Bates No. 3359A). They also show that defendant purchased
                     the lower receiver for the assault rifle he used to fire on the Task
22                   Force members and murder Deputy Marshal C.W. There is nothing
23                   prejudicial about identification documents.
24
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 1        288-291    Exhibit 288-291 are photos of a .22 caliber semi-automatic pistol that
                     defendant had in his bathroom drawer. This bathroom was directly
 2                   off of the defendant’s bedroom. There were two magazines that
 3                   appear to be loaded with the pistol. This is highly probative evidence
                     that defendant was preparing and planning for combat. Defendant has
 4                   a back-up weapon within reach in the bathroom along with a 30-round
                     magazine for his assault rifle on the floor of the bathroom. Other
 5
                     evidence at trial will show that defendant had barricaded the doors and
 6                   installed multiple camaras. The presence of additional firearms is
                     consistent with the defendant’s obvious intent to wage war against law
 7                   enforcement.
 8          325      Exhibit 325 is a blank space on the exhibit list.
 9          382      Exhibit 382 is a photo of the TPD MHST team on defendant’s laptop.
                     Defendant targeted members of the MHST after he was transported on
10                   August 18, 2017, for a mental health evaluation. The photo of the
11                   MHST team on defendant’s laptop is further evidence that he was
                     targeting the MHST team members. This photo is highly probative
12                   and is not unfairly prejudicial.
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 1       422, 423,   Original Exhibits 422 and 423 (Bates No. 6486 and 6487) have been
                     deleted from the Exhibit list.
 2        517-26
 3                   Original Exhibits 517 through 524 (Now Exhibits 446-453) are
                     photos of the elementary school that defendant shot, along with photos
 4                   of the window that was hit, the bullet recovered from the window, and
                     the inside of the school room showing the interior of the window
 5
                     defendant hit. Ballistics show that the bullet recovered from the
 6                   school window was fired from defendant’s assault rifle.
 7                   Original Exhibits 525 and 526 (now 454 and 455 with new Bates
 8                   numbers 5638 and Bates No. 5641) are photos of the hole (H1) in the
                     school window and the damaged window seal.
 9
10                   The school can be viewed from the defendant’s bedroom window
                     through which he fired. The bullet path between the defendant’s
11                   bedroom window and the school window cuts directly through the
12                   side yard where the Task Force members were standing when
                     defendant opened fire at them. Thus, the fact that the bullet hit the
13                   school shows that the Task Force members outside of defendant’s
14                   bedroom window were in the defendant’s field of fire. This is highly
                     probative evidence of attempted murder, and it is not substantially
15                   outweighed by unfair prejudice.
16
                     This evidence is part of defendant’s crimes and is necessary to tell the
17                   story of defendant’s crimes. All of the photos of the school with the
                     damage to the window and the view of the interior of the school room
18
                     are relevant to account for all six bullets that defendant fired.
19                   Defendant’s expert R.T. Wyant also accounts for this trajectory to the
                     school on the trajectory report disclosed by the defense. All of
20                   defendant’s bullets need to be accounted for so that the jury is not left
21                   to wonder why all the bullets fired are not accounted for.
22                   The evidence will show that the school was cleared by the Task Force
23                   before they approached defendant’s residence to arrest him. The
                     evidence will show that there were no children endangered at the
24                   school.
25
                     The United States is not moving to admit the photo log at exhibit 522
26                   (now Exhibit 451)
27
            550      The United States is not moving to admit this chart. It is being
28                   removed from the exhibit list.

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 1           573        Exhibit 573 is the body worn camera video of TPD Officer Hill who
                        recorded defendant when he came to the TPD station to arrest TPD
 2                      officers on November 20, 2018. The video is relevant to show the
 3                      stalking of a TPD Sergeant which lead to the arrest warrant for
                        stalking that was being served when defendant opened fire on the
 4                      Task Force and killed Deputy Marshal C.W.
 5
                        The defense objects to the reference to defendant’s injunctions against
 6                      harassment in the video. However, the court has previously ordered
                        that the injunction against harassment obtained by TPD MHST
 7                      Detective Golden is admissible as part of the inextricably intertwined
 8                      evidence. (Dkt. No. 539, See Exhibit 568 and 569 above). Therefore,
                        the video is highly probative and is not unfairly prejudicial.
 9                      Exhibits 615 to 618 are the search warrants for defendant’s residence
          615-618
10                      and electronic devices. They are not being offered for admission.
                        They are included on the exhibit list to refresh memory if needed.
11                      Exhibit 627 is not being offered for admission. It is on the exhibit list
             627
12                      to refresh memory if needed.

13
14            The defendant also generally objects to the admission of written reports. The law

15    enforcement reports and expert reports on the exhibit list were included to be available to

16    refresh memory if needed and will not be offered for admission.

17            Defendant also objects to any witness that the United States will call to account for

18    a .223 bullet fired by defendant, and which lodged in a school window after he opened fire

19    on the Task Force members. The school and therefore, the bullet’s path, can be readily

20    viewed from the defendant’s bedroom window. This is highly probative evidence of

21    murder and attempted murder because the bullet’s path to the school shows that the bullet

22    passed through the side yard just outside defendant’s bedroom window where the Task

23    Force members were standing. Put another way, the path of this bullet from defendant’s

24    bedroom to the school shows that the Task Force members were standing in defendant’s

25    field of fire.

26            Moreover, the evidence that defendant’s bullet hit the school is part of the story of

27    defendant’s crimes. Without this evidence, the jury will be left without an account of all

28    of the bullets fired by defendant.


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 1            Defendant also believes this is information that he wants the jury to hear.
 2     Defendant’s expert R.T. Wyant included the trajectory of defendant’s .223 hitting the
 3     school in the defense trajectory report.
 4            A CD of all of the above exhibits will be provided for the Court’s review.
 5            For all the foregoing reasons defendant’s objections to the United States witnesses
 6     and exhibits should be overruled.
 7                   Respectfully submitted this 11th day of September 2023.
 8
                                                  GARY M. RESTAINO
 9                                                United States Attorney
                                                  District of Arizona
10
                                                  s/Jane L. Westby
11
                                                  SARAH B. HOUSTON
12                                                JANE L. WESTBY
                                                  Assistant U.S. Attorneys
13
       Copy of the foregoing served electronically or by
14     other means this 11th day of September 2023, to:
15     Brad D. Levenson,
       Christopher P. Frey
16     Theresa Michelle Duncan
       Martin L. Novillo
17
       Catherine Shively Berry, Esq.
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